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Expedia Group’s Black & Well-Traveled Platform
Showcases the Power of Black Travelers and Shares
their Stories
   careers.expediagroup.com/blog/expedia-groups-black-well-traveled-platform-showcases-the-power-of-black-travelers-
and-shares-their-stories/

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Written by Sahara Ali, Sr. Manager, Inclusion Marketing & Events




At Expedia Group, we’re on a journey to building a culture of inclusion that is fully embedded
into all aspects of our business – from our workforce, to how our travelers use our platform.
For the second year in a row in the warm, bright and artistic home of Austin, Texas we
hosted our Black and Well-Traveled networking event focused on the power and stories of
Black travelers.




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In Austin, we centered on convergence of art, culture, travel, and technology with a
networking event at one of Austin’s only Black-owned art galleries, RichesArt Gallery, and
celebrated with a lineup of local Black-owned technology, food, visual arts and photography
businesses.

Our panel conversations embraced the intersection of identity, technology and travel.
Expedia Group executives shared what it is like being a leader in the technology space, and
we also welcomed keynote speakers Ciara Johnson, Travel Blogger of Hey Ciara and Jubril
Agoro, CEO of Passport Heavy.




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Special Feature: Stella Danso

We caught up with Stella Danso, Senior Director of Security Governance, Risk, Compliance
and Privacy at Expedia Group to share her highlights.

Why are networking opportunities and authentic connections like this so important for
tech companies?

“Today, in the U.S., Black professionals account for just 7.4% of the tech workforce. For
Expedia Group, we sit at the intersection of technology and travel and are uniquely built to
make an impact and lead by example. Conferences like Afrotech play a critical role in
creating access and opportunity for all, including opening doors to careers in technology. Our
presence at events like these is an important part of our People strategy, and as aptly stated
by to Micheal Davis Velasco, our Chief People, Inclusion, and Diversity Officer, designed to
help deepen connections with prospective talent and continue the progress on our hiring and
gender representation goals.”

What were some of your memorable networking moments from the event?

“Expedia Group’s Black and Well-Traveled theme resonated with attendees. Someone
reached out to me and shared how much the sentiment resonated with them, and that the
way we talk about the culture and future of Expedia is something that they want to be part
of.” They also mentioned that having resources like our internal Inclusion Business Group
BEAM (Black Expedian Allied Movement) was something they’ve never heard of before, and
to see an impact like the one our internal community has had was inspiring.

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What is your best piece of networking advice?

“I have two favorite quotes. My first one is a quote from Brene Brown, which is ‘Courage
starts with showing up and letting ourselves be seen.’ My second, is that ‘networking is an
investment in your business. It takes time and when done correctly, can yield great results for
years to come’ by Diane Helbig.


The event also marked the end of our previous BEAM Global President’s term, Kevin Brown
who got to see Expedia Group’s growth over the years at Afrotech




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“I was very glad to see BEAMs rise to a prominent position within the IBG collective. Eight
years ago, I joined BEAM when there were little more than 100 total members and allies. To
be able to play a significant role in its growth to now over 1400 members and allies
worldwide has been extremely rewarding,” he shared reflecting on the momentum of the
event.

“I am also proud of the strategy we took to align BEAM with the company’s inclusion and
diversity business goals in order to help guide the company toward an intentional focus on
the Black traveler.”




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Kevin also shared some of his learnings over his term as BEAM President. “My biggest
learning is that it pays to have a plan forward, and to also put other people forward, and give
them the space to lead and grow in their careers too. Having an Inclusion Business Group
like BEAM allowed us to do that and gave me the space to guide, advise, and support my
colleagues.”




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Future of the work

We know that the path to greater representation and inclusion is an ongoing journey. Expedia
Group is proud of our progress to date and we remain committed to creating a more open
workplace and company. Learn more about how you can stay connected and join us in our
journey.




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